460 F.2d 318
    UNITED STATES of America, Plaintiff and Appellee,v.Sesser DURDEN, Appellant.UNITED STATES of America, Plaintiff and Appellee,v.Alfred Allen LOWE, Appellant.
    Nos. 71-2382, 71-2383.
    United States Court of Appeals,Ninth Circuit.
    May 3, 1972.
    
      Bernard G. Winsberg, William Miller, Los Angeles, Cal., for appellants.
      William D. Keller, U. S. Atty., Earl E. Boyd, Asst. U. S. Atty., Los Angeles, Cal., for plaintiff-appellee.
      Before CHAMBERS and CHOY, Circuit Judges, and POWELL, District Judge.
      PER CURIAM:
    
    
      1
      The judgments of conviction are affirmed in this cocaine case.
    
    
      2
      Lowe asserts entrapment as a matter of law. But we do not get to that when he does not admit to the acts charged.  United States v. Hendricks, 456 F.2d 167, 9th Cir., 1972.
    
    
      3
      We find no prejudicial conduct of the court.  The instructions were adequate.
    
    
      4
      The defendants may now move in trial court under Rule 35, Federal Rules of Criminal Procedure, for resentencing under the Drug Abuse, Prevention and Control Act, 1970.
    
    
      5
      The mandate will issue now.
    
    